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The following constitutes the ruling of the court and has the force and effect therein described.




Signed January 24, 2022
______________________________________________________________________



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


      HIGHLAND CAPITAL MANAGEMENT, L.P.,

             Plaintiff,
                                                           Adv. Proc. No. 21-03003
      vs.

      JAMES DONDERO, NANCY DONDERO, AND
      THE DUGABOY INVESTMENT TRUST,

             Defendants.


      HIGHLAND CAPITAL MANAGEMENT, L.P.,

                              Plaintiff,

      vs.
                                                           Adv. Proc. No. 21-03004-sgj
      HIGHLAND CAPITAL MANAGEMENT FUND
      ADVISORS, L.P.,


                              Defendant.




     ORDER GRANTING AMENDED AGREED EMERGENCY MOTION FOR LEAVE TO
     EXCEED PAGE LIMIT FOR DEFENDANTS’ RESPONSE TO PLAINTIFF’S
     MOTION FOR PARTIAL SUMMARY JUDGMENT                                                       PAGE 1
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 HIGHLAND CAPITAL MANAGEMENT, L.P.,

        Plaintiff,

 vs.                                                 Adv. Proc. No. 21-03005

 NEXPOINT ADVISORS, L.P., JAMES DONDERO,
 NANCY DONDERO, AND THE DUGABOY
 INVESTMENT TRUST,

        Defendants.


 HIGHLAND CAPITAL MANAGEMENT, L.P.,

        Plaintiff,

 vs.                                                 Adv. Proc. No. 21-03006

 HIGHLAND CAPITAL MANAGEMENT SERVICES,
 INC., JAMES DONDERO, NANCY DONDERO, AND
 THE DUGABOY INVESTMENT TRUST,

        Defendants.


 HIGHLAND CAPITAL MANAGEMENT, L.P.,

        Plaintiff,

 vs.
                                                     Adv. Proc. No. 21-03007
 HCRE PARTNERS, LLC (n/k/a NexPoint Real Estate
 Partners, LLC), JAMES DONDERO, NANCY
 DONDERO, AND THE DUGABOY INVESTMENT
 TRUST,

        Defendants.


ORDER GRANTING AMENDED AGREED EMERGENCY MOTION FOR LEAVE TO
EXCEED PAGE LIMIT FOR DEFENDANTS' RESPONSE TO PLAINTIFF'S MOTION
                FOR PARTIAL SUMMARY JUDGMENT
       On this date, the Court considered the Amended Agreed Emergency Motion for Leave to

Exceed Page Limit for Defendants’ Response to Plaintiff’s Motion for Partial Summary Judgment




ORDER GRANTING AMENDED AGREED EMERGENCY MOTION FOR LEAVE TO
EXCEED PAGE LIMIT FOR DEFENDANTS’ RESPONSE TO PLAINTIFF’S
MOTION FOR PARTIAL SUMMARY JUDGMENT                                                    PAGE 2
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(the “Motion”) 1 filed by the Defendants in each of the above-captioned adversary proceedings on

January 20, 2022. Upon consideration of the Motion, and the fact that Plaintiff Highland Capital

Management, L.P. (“Plaintiff”) is unopposed to the Motion, the Court finds that the Motion is well

taken and should be granted. Accordingly, the Court finds that just cause exists for entry of the

following order. It is therefore

         ORDERED that the Motion is GRANTED as set forth herein. It is further
         ORDERED that the Defendants’ brief in support of their response to Plaintiff’s Motion

for Partial Summary Judgment may exceed the page limit mandated by L.B.R. 7056-1(e)(2) by no

more than five (5) additional pages.

                                          ###END OF ORDER###




1
 The relief requested in the Motion was amended by Defendants pursuant to an agreement with the Plaintiff that was
announced to the Court by email dated January 20, 2022. Defendants thereafter filed an amended motion with this
Court indicating that they seek only to exceed the summary judgment brief page limit by five (5) pages.

ORDER GRANTING AMENDED AGREED EMERGENCY MOTION FOR LEAVE TO
EXCEED PAGE LIMIT FOR DEFENDANTS’ RESPONSE TO PLAINTIFF’S
MOTION FOR PARTIAL SUMMARY JUDGMENT                                                                       PAGE 3
